

People v Herrmann (2020 NY Slip Op 07793)





People v Herrmann


2020 NY Slip Op 07793


Decided on December 23, 2020


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 23, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., PERADOTTO, NEMOYER, AND TROUTMAN, JJ.


1126 KA 17-01693

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vMATTHEW J. HERRMANN, DEFENDANT-APPELLANT. 






LEANNE LAPP, PUBLIC DEFENDER, CANANDAIGUA (CARA A. WALDMAN OF COUNSEL), FOR DEFENDANT-APPELLANT. 
JAMES B. RITTS, DISTRICT ATTORNEY, CANANDAIGUA (V. CHRISTOPHER EAGGLESTON OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Ontario County Court (William F. Kocher, J.), rendered May 12, 2017. The judgment convicted defendant, upon a plea of guilty, of criminal possession of marihuana in the third degree. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Entered: December 23, 2020
Mark W. Bennett
Clerk of the Court








